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                   EXHIBIT D
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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.



        DECLARATION OF MARCUS MARTIN IN SUPPORT OF PLAINTIFFS’
       SUBMISSION REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
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         I, Marcus Martin, declare as follows:

         1.      I am a Plaintiff in the lawsuit captioned Sines v. Kessler, No. No. 3: 17-cv-00072-

 NKM.

         2.      I provide this declaration in support of Plaintiffs’ Submission Regarding Venue for

 Trial and Trial Logistics.

         3.      The statements made in this declaration are based on my personal knowledge. If

 called to testify, I could and would testify under oath competently and truthfully to each of the

 statements in this declaration.

         4.      I am a resident of Shipman, Virginia. I have lived in Shipman, Virginia for my

 entire life. Where I live in Shipman is approximately 30 minutes away from Charlottesville,

 Virginia.

         5.      I am employed by RSG Landscaping. I oversee landscaping projects located in

 Charlottesville, and I work and stay overnight in Charlottesville from Monday through Friday

 every week. I expect this will continue until at least the end of the year.

         6.      I assist in providing elder care for my mother, who also resides in Shipman. My

 mother cannot drive, and I regularly drive her to medical appointments when other family

 members are unable to do so.

         7.      Driving to Lynchburg or Roanoke on a daily basis would be extremely difficult

 for me. Driving for that length of time is painful for my leg, which was severely injured during

 the events in question. In fact, I previously attempted to drive to work in Lynchburg for a period

 of approximately two weeks, but the drive proved so difficult due to the pain in my leg and

 personal exhaustion that my employer arranged for me to work in Charlottesville and provides

 me with lodging in a Charlottesville hotel during the week. I do not have any family or friends
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 with whom I could stay in either Lynchburg or Roanoke.

        8.      Traveling to Lynchburg or Roanoke also would take me away from my support

 system, which includes my family and friends. I rely heavily on my support system to calm me

 down in times of stress. I do not have any kind of support system in either Lynchburg or

 Roanoke, and my entire support system is located in or around Charlottesville.

        9.      It is extremely important to me that the trial occur in Charlottesville so that the

 community can be involved in resolving this case.         The events in question occurred in

 Charlottesville. The Defendants’ conduct has left Charlottesville’s community with scars and

 memories that will simply never go away. I cannot drive past the street where I was hit by

 Defendant Fields’ vehicle without remembering exactly what happened. To move the trial to

 another location would take the trial away from the people of Charlottesville who need a sense

 of justice. Only by allowing a jury to resolve this case in Charlottesville can the community

 truly begin to heal.

        10.     It is substantially more convenient for me, given my employment in

 Charlottesville, my responsibility to care for my mother, and my difficulty driving for prolonged

 periods for trial in Sines v. Kessler to be held in Charlottesville instead of Lynchburg or

 Roanoke. Driving to Lynchburg or Roanoke for the trial would take me away from my work

 responsibilities in Charlottesville, prevent me from assisting in my mother’s care, require me to

 secure lodging for myself, result in severe physical hardship, and deprive me of my support

 system.

        11.     I declare under penalty of perjury that the foregoing is true and correct. Executed

 on June 10, 2021 in Charlottesville, Virginia.


                                      ____________________________
                                      Marcus Martin

                                                  3
